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  STATE OF MAINE                                                  SUPERIOR COURT
  CUMBERLAND, ss                                                  DOCKET NO.____


 ANNIE ZHAO, individually and cn behalf of all
 others similarly situated

        Plaintiff.

 V.
                                                                CLASS ACTION
 CIEE INC.                                                     COMPLAINT AND
                                                            DEMAND FOR JURY TRIAL
 and

 COUNCIL ON INTERNATIONAL.EDUCATIONAL
 EXCHANGE. INC.,


        Defendants.


        Plaintiff Annie Zhao. individually and on behalf of all others similarly situated, for a

 class action complaint against Defendants CIEE. Inc. and Council on International

 Educational Exchange. Inc. [jointly, "CIEE" or "Defendants"), complains as follows:

                                          I.
                                 SUMMARY OF THE ACTION

        1.      This is a class action claim against America's largest provider of study

abroad collegiate educational programs. CIEE, on behalf of thousands of similarly situated

American college students and other CIEE participants who were denied any refund of

tuition, room and board, and other fees they paid for Spring 2020 study abroad programs

. that CIEE cancelled. CIEE undeniably made the right decision to cancel its study abroad

programs in light of travel restrictions and safety concerns posed by the COVID-19

pandemic, but it erred by placing 100% of the financial burden of that cancellation on

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 financially strapped young adults, many of whom went into debt to pay for overseas

 educational programs, internships, housing, activities, and services that CIEE did not

deliver. Despite cancelling all of its study abroad and other programs and terminating all

housing and other services to program participants, CIEE has failed and refused to refund

fees participants paid to CIEE for their cancelled Spring 2020 study abroad and other

programs.

        2.     In refusing to refund tuition, CIEE has pointed to the opportunity for some

students to receive credit for coursework by participating in online classes after returning

home. But the raison d'etre of CIEE's study abroad programs is living and studying in a

different culture—an immersive international experience that cannot be replicated by

remote learning online. Students bargained and paid for an actual study abroad

experience, not online education from their kitchen tables. The value of the remote

learning CIEE delivered to students who did finish their Spring 2020 coursework online is

far less than the in-person international educational experience that students paid CIEE to

provide. As for housing, activities, and other services that students paid for, CIEE

terminated all housing, cancelled all activities, and never provided related services such

as trips and excursions, but has refused to offer any refund for the months of services it

failed to provide to thousands of participants.

       3.      While some American study abroad providers, colleges, and universities

have made the fair and equitable decision to offer appropriate refunds to students in

similar circumstances, CIEE instead adopted a harsh no-refund policy. In so doing CIEE

breached its contract with students participating in its programs and has been unjustly

enriched insofar as it has inequitably retained tuition, payments for room and board, and


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other fees that should in fairness be refunded, in whole or in part, to students and interns.

 Plaintiff brings this action because she and other class members did not receive full value

for the educational services they purchased, did not receive housing and other services

they paid for, and lost the material benefit of their bargain with CIEE.

                                           II.
                                JURISDICTION AND VENUE
        4.     This Court has jurisdiction over the claims alleged herein pursuant to 4

M.R.S. § 105(13.      Court is the appropriate venue because CIEE is headquartered in

and has its principal place of business in Cumberland County.

       5.      This Court also has jurisdiction'over this action because ClEE’s contract

with participants contains a forum selection clause specifying that "any dispute or claim

which refers or relates to this contract, any literature related to the Program, or the

Program itself shall be litigated solely and exclusively in and for courts in Portland,

Maine, subject to the substantive and procedural Maine law, and for this limited purpose,

the parties agree to exclusive venue and personal jurisdiction therein.”


                                            III.
                                          PARTIES

        6.     Plaintiff Annie Zhao is a member of the Harvard College Class of 2021 and

resides in Allen, Texas. She paid CIEE for a Spring 2020 study-abroad educational

program at the University of Amsterdam in the Netherlands. She paid CIEE for

educational programs, housing, activities and services that CIEE did not provide to her.

       7.     Plaintiff enrolled in CIEE because of the opportunity to live and study

abroad in Europe and to interact in-person with other cultures, faculty, and peers.




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       8.      CIEE cancelled its Spring 2020 study abroad programs, causing Plaintiff to

suffer a direct loss and to not receive the bargained-for international educational

experience CIEE had agreed to provide and that Plaintiff had paid CIEE for.

       9.      Plaintiff has had no meaningful opportunity to interact with other cultures,

faculty, or peers after CIEE cancelled her program. Completing some of her coursework

by online instruction a few hours per week is a far cry from the immersive international

experience of living and learning in Europe. Plaintiffs opportunities for education,

collaboration, and interaction are also limited in this online format by the difficulties of

scheduling around multiple time zones.

       10.     It is not possible to transition the experience of living and learning abroad

to taking classes from home online. None of the CIEE facilities, housing, activities, and

experiences in Amsterdam are available to Plaintiff from her home in Texas. The same is

true for all similarly situated Plaintiffs, compared to their study abroad locations.

       11.     Plaintiff brings this action on behalf of a proposed class which includes

other CIEE study abroad participants who suffered the same or similar injuries, including

participants in CIEE internship programs. CIEE interns have likewise suffered the loss of

payments made to CIEE for services not received, including international experiences.

room and board, activities, excursions, and other services. The CIEE interns have suffered

a common injury with the study abroad students as a result of CIEE's failure and refusal to

refund all or a sufficient part of those payments.

       12.    Defendant CIEE, Inc., is a Delaware non-profit corporation headquartered in

and with a principal place of business in Portland, Maine.




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        13.    Defendant Council on International Educational Exchange, Inc., is a New

York non-profit corporation headquartered in and with a principal place of business in

 Portland; Maine. Defendants are referred to collectively as "CIEE."

        14.    The two entities identified collectively as CIEE are commonly run.

commonly controlled, have the same headquarters at 300 Fore Street in Portland, Maine,

use the same or confusingly similar names and identities, have overlapping management,

and are alter egos of one another. CIEE, Inc., stands for Council for International

Educational Exchange and does business under that name; Council for International

Educational Exchange, Inc., does business as CIEE.

        15.    The contract by which program participants enter CIEE study abroad

programs is between the participant, on the one hand, and "the Council on International

Educational Exchange, Inc, its owners, directors, officers, employees and affiliates," on the

other hand. CIEE, Inc, is an affiliate and alter ego of the Council on International

Educational Exchange, Inc Because both CIEE, Inc, and the Council on International

Educational Exchange, Inc, are parties to the same contract, they also are liable jointly

and severally for their breach of the contract. They also are jointly and severally liable for

unjust enrichment.

       16.     CIEE's administrative, billing, invoicing, and refund policies are established,

implemented, and enforced worldwide from Maine.

                                             IV.
                                           FACTS
       A. Introduction to CIEE

       17.     Founded in 1947, CIEE describes itself as America's oldest and largest

nonprofit study abroad and intercultural exchange organization.

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       18.       CIEE's mission statement is: "To help people gain understanding, acquire

knowledge, and develop skills for living In a globally interdependent and culturally

diverse world by offering the most comprehensive, relevant, and valuable exchange

programs available."

       19.       Typically, CIEE annually sends more than 15,000 Americans to study or

intern abroad and welcomes more than 30,000 international exchange visitors to the

United States.

       20.       CIEE's worldwide network of international exchange locations includes

about 60 sites in about 40 countries.

       21.       As the end of its 2017-18 fiscal year, the most recent year for which

information is publicly available, CIEE had $160 million in revenue, of which $150 million

consisted of international study fees. CIEE's President and CEO, James P. Pellow, received

over $900,000 in annual compensation.

       B. The key component of CIEE's study and internship abroad programs is
          cultural immersion.
       22.       While many educational programs offer and highlight remote learning

capabilities as a primary component of their efforts to deliver educational value [e.g..

Western Governors University, Southern New Hampshire University, and University of

Phoenix-Arizona], CIEE's international programs could not be more different.

       23.       CIEE's study abroad programs are built on the experiential and culturally

immersive experience of learning and living abroad, which CIEE describes as

"illuminating and life-changing."




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        24.    The section of CIEE*s website captioned "Why CIEE" touts "Cultural

 Immersion," and explains, "We offer you the life-changing opportunity to live like a local.

 rounding out your experience with field work and cultural excursions."^

        25.    CIEE promotes international education as "more important than ever" to

build "bridges between nations and cultures" and to prepare "the next generation of

leaders to work across cultures and tackle global crises."

        26.    In a CIEE video promoting its architectural study program in Barcelona,

Spain, a student explains the importance of place to the study abroad educational

program:

       I think the best part about study abroad is that you not only get to learn in
       the classroom in a traditional lecture environment like you would if you
       were in a University, but you have the benefit of living around everything
       you're learning about.^

        27.    CIEE's marketing materials for its Arts & Sciences program in Gaborone,

Botswana, touts educational experiences that are only available in-country:

       You can also choose a for-credit internship at a local business or make a
       real difference by volunteering at a local organization. All courses are
       complemented with CIEE co-curricular activities and excursions beyond the
       city to enhance classroom learning and provide intercultural
       understanding.

        Enjoy life as a villager and be exposed to different socio-economic space in
        modern day Botswana during a three-day stay in rural Botswana.

       Explore a Wildlife Sanctuary with 30 animal species and more than 230
       species of birds.

       Practice Setswana while you lead a research or community project that's
       close to your heart.



1 https://www.ciee.org/go-abroad/college-study-abroad.
2 https://www.youtube.com/watch?v=4Z07P-m8Gzk&Iist=PLt-
EwIlFrRSHQGolJtsom3J7myJTqFOES.

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       Meet students by joining a campus sports team or student group, such as
       the Human Rights Organization or Students Against HIV/AIDS.

       Expand your view of Africa with local and regional excursions to places like
       the National Museum, and the Khama Rhino Sanctuary.

       Discover Botswana's rich history and biodiversity with excursions to
       Bahurutshe Cultural Village and Mokolodi Game Reserve.

       This program invites students of all majors to earn credits toward their
       degree with cutting-edge courses at University of Botswana and CIEE
       Gaborone. In addition, students volunteer and participate in unique
       excursions designed to immerse themselves in the community. Together,
       these pieces give students a solid understanding of contemporary Botswana
       culture and its role in Southern Africa.^

       28.    The CIEE program in Copenhagen, Denmark, also highlights the vital nature

of being physically present to the educational experience:

       Embark on a two-night/three-day study tour included in your
       program during each block. Students might visit Helsinki or Tallinn, or
       Danish destinations such as Ribe (the oldest town in Denmark, founded by
       Vikings], Arhus (2017 European Cultural Capital], or Skagen (the countr/s
       northernmost town].

       Give back and create a deeper connection to Copenhagen. Denmark has a
       rich tradition in volunteer activity, mainly through special interest groups
       (called “Foregning”] or Non-Governmental Organizations (NGOs]. By
       volunteering, CIEE students meet with local Danish students and peers and
       get a deeper understanding about Danish society.

       Build new skills and intercultural competencies with a CIEE Academic
       Internship and become an active member of the Copenhagen professional
       environment.

       Pursue a research project of your own design incorporating independent,
       local field work.

       Combine course-based learning with practical, relevant project experience
       to meet a community-defined need.




3 https://www.ciee.org/go-abroad/coIlege-study-abroad/programs/botswana/gaborone/arts-
sciences.

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       29.    For its Amsterdam program, CIEE's promotional video touts the "really

awesome experience" of "excursions" as "just one example of the many opportunities

CIEE provides students to go explore the Netherlands."^ CIEE also promotes students'

ability to plan their own independent excursions and travel.^

       30.    A hallmark of CIEE's course offerings in Amsterdam, as elsewhere, is

bringing the host country into the classroom by integrating students and the place where

they are studying. CIEE's courses incorporate field trips, field assignments, excursions,

guided site visits, firsthand experiences, and other out-of-classroom activities.

       31.    CIEE's Spring 2020 Amsterdam course catalog includes the following [these

excerpts are abridged, in part):

       Business and Sustainability in the Netherlands, BUSI3004 AMNT. A
       combination of classroom work with guest lectures and company visits/excursions
       will provide students with firsthand experiences that will allow them to better
       understand how Dutch history (e.g. the fight against rising sea levels), culture [e.g.
       the Dutch as practical problem-solvers), and society have shaped the development
       of a sustainability-focused business culture.

       Intercultural Communication and Leadership, COMM 3301NETH. Learning
       will involve in-class exercises, active reflection, discussion, readings, field reports,
       short lectures, and out-of-class activities that help you engage in the local culture
       on a deeper level. As part of this course, you are required to identify a Cultural
       Partner - someone who has been a resident of the host culture for many years -
       with whom you will need to complete several activities throughout the semester.

       Beginning Dutch, DUTC1003 NETH. The course includes a field assignment:
       students have to document [by video) a typical, authentic, day-to-day situation in
       the Netherlands [marketplace, supermarket, public transport, beach, etc.).

       Race in the Netherlands, SOCI3003 AMNT. By completing this course, students
       will: Gain an in-depth understanding of the history of race as a concept and a lived
       reality particularly in the Netherlands. While lectures by the instructor will anchor
       every unit and serve as the basis of class discussions, these will be amply
       supplemented by guest lectures from experts in the field, as well as guided site

4 https://www.youtube.com/watch7vslM19rkzR-jM
5 https://www.youtube.com/watch7vsPpcfSeOBa4Y

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          visits, which will both cover a theoretical understanding of race, and how this
          intersects with lived experiences in the field.
          32.    The experience CIEE offers to college students and interns spending a

 semester (or more) abroad is only possible with face-to-face, in-person interaction with

 foreign people, places, and cultures. This experience cannot be replicated by online or

 internet learning.

          33.    CIEE's charges for tuition, fees, and room and board for its international

 programs vary depending oh location but are generally in the range of $15,000 to $25,000

 per semester, with about one-quarter of the total amount accounted for as room and

 board.

          34.    For example, CIEE's program fees for its Amsterdam Spring 2020 program

 total $20,450, which is made up of a Participation Confirmation Fee ($300), Educational

 Costs ($14,733), Housing ($5,250), and Insurance ($167). Students are responsible to pay

 out of pocket for all travel, meals, books, and expenses.

          35.    By contrast, schools delivering online-only educational programs assess

 significantly discounted rates. For example. Western Governor’s University charges

 between $3,225 and $3,550 for six month terms, while Southern New Hampshire

 University charges $960 per course for online undergraduate programs and $1,881 per

 course for online graduate programs. These schools do not charge for room and board

 because students study from home.

          36.   CIEE is among the schools now offering online education at a bargain price

 as compared to the fees charged for live instruction on campus. In April, 2020, CIEE

 announced that it would be offering 25 online summer classes in language, art, culture,

 business, STEM, psychology, political science, economics, marketing, and leadership at a

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 cost of $750 for a 3-credit course.® Its in-person full-time study abroad programs charge

 a tuition that is 4 times higher, assuming a 15 credit course load over a semester at a cost

 of $15,000—a typical CIEE tuition charge.

        37.       ClEE's own fee structure recognizes that online learning is a vastly different •

 and less valuable experience for its student participants as compared to study abroad, and

 that online learning can be offered at a small fraction of the cost of providing in-person

 instruction to students living abroad.

        C. CIEE cancels all of its study abroad programs due to travel disruptions
           and safety concerns arising from the novel coronavirus (“COVID-19").
        38.       At the time COVID-19 emerged in the first months of 2020 as a global health

 crisis, CIEE was operating in 59 locations in about 40 countries. CIEE's enrollment was at

 record levels.

        39.       In late January 2020, CIEE welcomed most of its participating U.S. college

 students studying abroad for all ora portion of the spring semester of 2020, but shortly

 thereafter it began to cancel its study abroad programs—first in COVID-19 hot spots, and

 eventually worldwide.

        40.       On January 27,2020, CIEE canceled its study abroad programs in China,

 announcing that students "who are already on program in Shanghai will be departing

 immediately."^




 ^ https://www.prnewswire.com/news-releases/the-council-on-internatiQnal-educational-
 exchange-continues-its-misslon-tQ-bring-the-world-together-despite-globai-pandemic-
 3QlQ49729.html: see also https://www.ciee.Qrg/gQ-abrQad/cQllege-study-
 abroad/prQgrams/Qnline/summer-sessions-online
 ^ https://www.ciee.org/about/blog/ciee-suspending-programs-china.

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        41.     On January 30, 2020, the World Health Organization declared the outbreak

 of COVID-19 a "public health emergency of international concern."

        42.     On February 25, 2020, CIEE cancelled its Seoul, South Korea Arts & Sciences

 Program for Spring 2020.®

        43.     On February 29,2020, CIEE cancelled its Rome open campus program and

 required students to leave the program by March 6,2020. CIEE offered to refund "any

 recoverable expenses" and to allow students to cancel participation in the following

 session and receive a refund of "the full fee."®

        44.     ClEE's cancellation of its study abroad programs in China, South Korea and

 Italy affected hundreds of college students, but as of the beginning of March the majority
                                /
 of its study abroad programs continued unchanged.

        45.    On March 1, 2020, the U.S. Centers for Disease Control issued a statement

 recommending that institutions of higher education "consider postponing or canceling

 student foreign exchange programs” and "consider asking current program participants

 to return to their home country.''^® In response to this guidance, many American colleges

 advised students studying abroad in countries where coronavirus cases had been

 reported to return home. CIEE did not.

        46.    On March 2,2020, CIEE communicated the CDC's recommendation to its

 program participants, but did not cancel or suspend its Spring 2020 study abroad

 programs. CIEE announced, "After careful consideration, and in the absence of any


 ® https://www.ciee.org/about/blog/clee-cancelling-arts-sciences-program-seoul-for-spring*
 2020.
 ® https://www.ciee.org/about/bIog/ciee-suspending-rome-open-campus-program-for-sprlng-
 blocks-2-and-3.
    https://www.cdc.gov/coronavirus/2019-ncov/community/student-foreign-travel.htm1.

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 specific change in conditions in the other 35+ countries in which CIEE operates, we will

 continue to offer our programs as planned."

        47.     CIEE assured participants in its study abroad programs:

        If and when we make a determination that local conditions require us to
        cancel or suspend programs in a country, then we will work to provide
        options that will enable students to still earn the academic credits they had
        planned, including the option to move to an alternative program location or
        to complete coursework remotely, if feasible. We will support students in
        changing travel plans and completing their semester with the least
        disruption possible.
        48.     On March 4,2020, CIEE informed participants in its study abroad programs

 that "unless and until there is a direct and specific threat that cannot be managed, CIEE

 does not intend to cancel or suspend any further study abroad operations due to COVID-

 19." It explained in the same communication:

        We believe that the health risks posed by COVID-19 remain low for CIEE
        participants in all study abroad programs currently operating at our
        locations worldwide. Based on the science and data reported thus far, we
        believe COVID-19 should be taken seriously, but we should also keep in
        mind that 82% of all those infected have only minor symptoms and there
        has been a 99.8% recovery for college-aged students.
        49.     On March 11, 2020, CIEE's President and CEO, James P. Pellow, announced

 that all of its courses will be available "in an online delivery format, starting next week" in

 Czech Republic (Prague], France (Paris, Rennes, Toulouse], Germany (Berlin], Hungary

 (Budapest], Netherlands (Amsterdam], Portugal (Lisbon], and Spain (Alicante, Barcelona,

 Madrid, Palma de Mallorca, Seville].

        50.     CIEE explained that most students would be'permitted to remain onsite. "In

 some cases, universities have opted to have students return to the United States, while

 other colleges have permitted students to make the choice." CIEE explained that students

 would "be free to decide whether they prefer to stay onsite and continue their

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 coursework, or if they prefer to return home/' and that "for some students, depending on

 the particulars of their situation, staying at their program site may well be the best

 option."

        51.      CIEE continued to offer onsite housing and staff support for all students and

 to make available CIEE Centers located in each country hosting a program—it described

 those Centers as students' "home away from home."

        52.      CIEE also explained that because its programs had not been suspended,

 "normal terms and conditions apply so students are not eligible for a refund regardless of'

 whether the student returns home or stays onsite.

        53.      During the first half of March, CIEE also hosted town halls with its program

 participants.

        54.      At a CIEE'hosted town hall for its Amsterdam program participants, CIEE

 staff announced that at least a partial refund would be offered if the U.S. CDC issued a

 Level 3 Health Notice for the Netherlands and the program was cancelled.

        55.      On March 11, 2020, the World Health Organization recognized COVID-19 as

 a pandemic.^^

        56.      The same day, March 11, 2020, the CDC elevated its Travel Warning to

 "Level 3: Avoid Nonessential Travel" for Europe, and to "Level 2: Practice Enhanced

 Precautions" for the entire world, and the U.S. Department of State raised its global travel

 advisory to "Level 3: Reconsider Travel." In addition, the White House issued a 30-day




 “ https://www.who.int/dg/speeches/detail/who-director-general‘S-opening-remarks-at-the*
 media-briefing-on-covid-19—ll-march-2020.

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 travel restriction for Europe, barring people who are not U.S. citizens or permanent

 residents from traveling to the United States from Europe.

        57.    The following day, March 12,2020, CIEE responded to the pandemic

 declaration, travel warnings, and White House travel restriction by changing course and

 cancelling all of its programs in the Schengen countries [Belgium, Czech Republic,

 Denmark, France, Germany, Hungary, Netherlands, Poland, Portugal, and Spain], effective

 March 22,2020. CIEE directed ail students to make arrangements to return home.

        58.    On March 12, 2020, CIEE also provided guidance to students on flight

 change costs and program costs, withdrawals and refund requests. For example, Jonathan

 Key, the Amsterdam Program Director, explained that CIEE would cover up to $500 in

 airline change fees upon presentation of a receipt. He also explained, "We are currently

 working through the details of whether and to what extent refunds will be available, and

 will be providing those details separately."

        59.    On March 13,2020, the President declared a U.S. national emergency

 concerning COVlD-19.^2

        60.    On March 15, 2020, CIEE cancelled all of its spring 2020 study abroad

 programs.^3 ClEE's President and CEO, James P. Pellow, explained:

        In response to the expanding global disruption caused by the spread of
        COVID-19, ClEE's Health, Safety, and Security and program management
        teams have been continuously assessing and reassessing risk at all CIEE
        worldwide locations.
        Uncertainty around travel restrictions has increased significantly across the
        globe in the last 48 hours. Since the response to the global pandemic has


    https!//www.whitehQuse.gQv/presidential«actiQns/prQclamation-declaring-natiQnal-
 emergencv-concerning-nQvel-CQrQnavirus-disease»cQvid«19«Qutbrgak/
 13 https://www.ciee.org/about/blog/ciee-suspend-all-spring-study-abroad-programs

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        become increasingly unpredictable, ALL spring CIEE study abroad
        programs will be suspended with immediate effect.
        We know that, for some, this end to ambiguity will come as a relief, and that
        for others this will be truly awful news. We, too, are disappointed that this
        semester must be cut short in response to the COVID-19 pandemic.
        However, we must put the safety and wellbeing of our students above all
        other concerns, and we believe that this is the best path forward at this
        time.


        CIEE staff will continue to support students in their current housing
        until travel can be arranged, but all students must arrange to depart
        by March 22.


        NEXT STEPS
        As a follow up to this communication, students will receive an email from
        their local Center Director with more specifics on how course credit may be
        obtained, as well as details regarding refunds, as applicable.
        61.      On March 18,2020, CIEE told program participants, “We will be sharing

 information on refunds, where applicable, with students and parents within the next two

 weeks. Please bear with us in the coming days as we focus on getting our spring students

 safely home."

        62.      CIEE cancelled all student housing effective March 22,2020, and cancelled

 liability insurance for students effective March 31, 2020.

        63.      All of CIEE's study abroad students, about 4,000 in total, returned home,

 except for a very small number who, against CIEE's directive, refused to depart.

        D. CIEE announces a no-refund policy, with limited exceptions.

        64.      On April 1, 2020, CIEE announced a no-refund policy for the Spring 2020

 study abroad programs it had cancelled, with limited exceptions.




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          65.    For Spring 2020 semester programs and "Open Campus Block 2"

 participants, CIEE said that "there will be no refund"!^ for students offered the

 opportunity to complete their courses online or through another distance-learning

 method and earn their originally anticipated academic credits.

          66. ' Even for students who are unable to obtain credits due to inability to

 complete courses online, or for whom no distance learning option is offered, CIEE's policy

 is not to guarantee refunds, but rather to determine whether to offer a refund on a "case-

 by-case" basis.

          67.    For students participating in CIEE's "Open Campus Block 3" program, which

 it said would be offered exclusively online, CIEE's policy is to offer a full refund for any

 student who canceled by March 31, 2020, and a 20% refund for all other students.^^ CIEE

 did not explain why "Open Campus Block 3" program participants engaged in online

 learning would be offered a 20% refund while students in Spring Semester programs also

 engaged in online learning at the same time would be offered no refund.

          68.   CIEE has refused to offer an appropriate and timely refund to students who

 withdrew from courses because Spring 2020 programs were cancelled.

          69.   CIEE's no-refund policy for tuition cannot be squared with and breaches its

 contractual obligation to provide students with in-person study abroad, not online

 learning.




 H https://www.ciee.Qrg/what-we-stand-For/health-safety-securttv/cornnavirus-cnvid-19»
 updates#cQllege-studv-abroad ("What Is CIEE's Refund Policy For Spring 2020 Programs?"].
 15 Id.


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        70.     CIEE’s no-refund policy for room and board cannot be squared with and

 breaches its contractual obligation to provide students with housing, which CIEE

 cancelled after directing that all students return to the United States.

        71.     CIEE's no-refund policy for program services, such as trips, activities, and

 insurance, cannot be squared with and breaches its contractual obligation given that it

 cancelled all trips, activities, and insurance. CIEE told its participants that the program's

 liability insurance was cancelled effective March 31,2020.

        72.‘    ClEE's no-refund policy for its cancelled Spring 2020 programs cannot be

 squared with and breaches the term of its contract with participants, which provides.

 among other things: "In the unlikely event that a program is cancelled (due to low

 enrollment or any other reason], CIEE will refund all payments received but will have no

 further liability to participant."

        73.     With respect to air travel, CIEE initially led students to think that it would

 be reimbursing everyone up to $500 for the cost of flying home early, which led Plaintiff

 Annie Zhao to email ClEE's billing office about reimbursement. But CIEE later instituted a

 policy of reimbursing up to $500 only for airline change fees.

        74.     Since Ms. Zhao booked an entirely new flight to safely and promptly return

 home, CIEE told her that she was not eligible to receive any reimbursement.

        75.     On April 1,2020, Plaintiff Annie Zhao contacted CIEE to ask: "Will we at

 least get a partial refund for the housing costs and the money that would have gone

 toward CIEE trips/activities? In addition, if 1 withdraw from one course, would 1 get

 refunded for that class?" She also explained, "During the coronavirus town hall that we all




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  attended, we were told that we would get at least a partial refund in the case that the CDC

  issued a Level 3 Health Notice for the Netherlands and the program was canceled."

         76.    More than two weeks later, on April 17, 2020, CIEE responded to Ms. Zhao,

  "Thank you for following up on this and I apologize for the delay in my response. We are

  currently looking in to [sic] the recoverable housing costs associated with your program.

  and will let you know as soon as we have more information."

         77.    That was the last time Ms. Zhao heard from CIEE on that subject.

         78.    CIEE's no~refund position contrasts with other providers of study abroad

  programs, which have offered at least partial refunds.

         79.    The net effect of ClEE*s no-refund position is to shift all of the risk of study

. abroad program cancellation from itself—a $160 million per year global business with

  decades of experience navigating global risks and the capacity to protect itself from such

  risks—to individual 20-year-old college students, many of whom went into debt to pay for

  CIEE's study abroad program. This is unfair and constitutes a material breach of CIEE's

  contractual obligations to its student participants.

                                           V.
                                CLASS ACTION ALLEGATIONS

         80.    Plaintiff sues under Rule 23[a], (b](2), and (b]C3) of the Maine Rules of Civil

  Procedure on behalf of herself and a Class defined as follows:

         All persons who paid any tuition, fees, or room and board charges to CIEE but did
         not receive the bargained-for in-person instruction, internship, international
         experience, activities, or room and board in 2020. Excluded from the Class are
         Defendants, any entity in which Defendants have a controlling interest, and
         Defendants' legal representatives, predecessors, successors, assigns, and
         employees. Further excluded from the Class are this Court and its employees. The
         persons defined as the Class, above, are the "Class Members." Plaintiff reserves the


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        right to modify or amend the Class definition, including through the creation of
        sub-classes if necessary, as appropriate during this litigation.

        81.    The definition of the Class is unambiguous. Plaintiff is a member of the

 Class she seeks to represent. Class Members can be notified of this action through contact

 information or address lists maintained in the usual course of business by Defendants.

        82.     Per Rule 23Ca)(l], Class Members are so numerous and geographically

 dispersed that the individual joinder of all Class Members is impracticable. The precise

 number of Class Members is unknown to Plaintiff, but given the thousands of student

 participants in Defendants' Spring 2020 study abroad program it is clear that the number

 greatly exceeds the number at which joinder ceases to be practical. Class Members may

 be notified of the pendency of this action by recognized, Court-approved notice

 dissemination methods, which may include U.S. Mail, electronic mail, Internet or social

 media postings, text message, or published notice.

        83.    Defendants have acted or refused to act on grounds generally applicable to

 Plaintiff and the Class Members, making appropriate final injunctive and declaratory

 relief for the Class under Rule 23Cb3(2].

        84.    Consistent with Rule 23(a)C2], Defendant engaged in a common course of

 conduct giving rise to the legal rights sought to be enforced by the Class Members. The

 injuries sustained by the Class Members flow from a common nucleus of operative

 facts—Defendants' cancellation of all of its international programs and the mandatory

 return of all participants to their home countries, the transition to remote learning, and

 Defendants' refusal to fully or partially refund tuition, fees and/or room and board.




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        85.      Common questions of law and fact predominate over the questions

 affecting only individual Class Members under Rule 23(a)(2) and Rule 23(b)(3). Some of

 the common legal and factual questions include:

              A. Whether Defendants engaged in the conduct alleged;

              B. Whether Defendants have a policy or procedure of denying refunds, in

                 whole or in part, to Plaintiff and Class Members;

              C. Whether Defendants breached their substantially identical contracts with

                 Plaintiff and Class Members;

              D. Whether Defendants violated the common law of unjust enrichment; and

              E. The nature and extent of damages and other remedies to which the conduct

                 of Defendants entitles the Class Members.

        86.      The Class Members have been damaged by Defendants through their

 practice of denying refunds to Class Members.

        87.      Plaintiffs claims are typical of the claims of the other Class Members under

 Rule 23(a)(3). Plaintiff is a student enrolled in a CIEE study abroad program for the

 Spring 2020 semester. Like other Class Members, she was instructed to leave Defendants'

 study abroad program, was forced to take online classes, and has been completely denied

 any refund for tuition, fees, and room and board.

        88.      Plaintiff and Plaintiffs counsel will fairly and adequately protect the

 interests of the Class as required by Rule 23(a)(4). Plaintiff is familiar with the general

 facts that form the basis for the Class Members' claims. Plaintiffs interests do not conflict

 with the interests of the other Class Members she seeks to represent. Plaintiff has

 retained competent counsel who are experienced in class action litigation and intend to


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 prosecute this action vigorously. Plaintiffs counsel has successfully prosecuted complex

 class actions, including consumer protection class actions. Plaintiff and her counsel will

 fairly and adequately represent the interests of the Class Members.

        89.     The class action device is superior to other available means for the fair and

 efficient adjudication of the claims of Plaintiff and the Class Members under Rule

 23(b](3]. The relief sought for each individual member of the Class is modest in relation

 to the burden and expense of individual prosecution of the potentially extensive litigation

 necessitated by the conduct of Defendants. It would be impractical for each Class Member

 to seek redress individually. Even if the Class Members themselves could afford

 individual litigation, the court system could not.

        90.     In addition, under Rule 23(b)(3}(A), individual litigation of the legal and

 factual issues raised by Defendants" conduct would impose significant expense and delay

 on all parties and on the court system. The class action device presents far fewer

 management difficulties and provides the benefits of a single, uniform adjudication,

 economies of scale, and comprehensive supervision by a single court.

        91.     Under Rule 23(b3(3](C], it is desirable to concentrate the litigation of the

 claims of Plaintiff and the Class Members in this forum given that Defendants are located

 in this judicial district and discovery of relevant evidence will occur in this district.

        92.     Additionally, the contract between CIEE and program participants specifies

 that disputes or claims "shall be litigated solely and exclusively in and for courts in

 Portland, Maine."

        93.     Given the similar nature of the Class Members' claims and the fact that all of

 them are subject to a contractual choice of law provision specifying that Maine


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 substantive and procedural law shall apply, a nationwide class will be easily managed by

 the Court and the parties pursuant to Rule 23(b)(3](D]. •

                                             VI.
                                      CAUSES OF ACTION
                                           Count I
                                     (Breach of Contract]
        94.     Plaintiff re-alleges the preceding paragraphs and incorporates them by

 reference as if they were fully set forth herein.

        95.     Plaintiff and the Class Members entered into the same or substantially

 similar binding contracts with Defendants.

        96.    Under their contracts with CIEE, Plaintiff and Class Members paid tuition,

 fees, and charges for room and board. In return, CIEE was to provide in-person

 instruction, internship, and cultural immersion experiences at study abroad locations and

 access to CIEE facilities and housing owned or arranged by CIEE.

        97.    Plaintiff and the Class Members have fulfilled their contractual obligations,

 held up their end of the bargain, and have paid in full for Spring 2020 CIEE international

 programs.

        98.    CIEE breached its contracts with Plaintiff and Class Members, failed to

 provide contracted-for in-person Spring 2020 study abroad programs, room and board.

 and other services. CIEE has failed to provide refunds for any portion of the programs

 that were cancelled.

        99.    ClEE's offer to substitute online classes, which was not agreed to in any

 contract with program participants, deprived Plaintiff and Class Members of the benefit of

 their bargain with CIEE by substituting a materially less valuable educational experience


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 in place of the in-person study abroad educational experience that Plaintiff and Class

 Members paid to receive.

        100.    Plaintiff and the Class Members have been damaged as a direct and

 proximate result of CIEE's breach.

        101.    Plaintiff and Class Members are entitled to damages from Defendants,

 including but not limited to tuition refunds, fee refunds, and room and board refunds.

                                            Count II
                                      (Unjust Enrichment)
        102.    Plaintiff re-alleges the preceding paragraphs and incorporates them by

 reference as if fully set forth herein.

        103.    At all relevant times, Plaintiff and Class Members directly conferred

 benefits on CIEE, in the form of monetary payments for tuition, fees, and room and board.

 so that Plaintiff and Class Members could avail themselves of in-person education

 experiences at CIEE's study abroad programs, including the use of CIEE facilities, room

 and board, and activities and other services.

        104.    CIEE knowingly accepted the benefits conferred upon them by Plaintiff and

 the Class Members.

        105.    CIEE appreciated or knew of the non-gratuitous nature of the benefits

 conferred upon them by Plaintiff and members of the Class.

        106.    CIEE accepted and retained the benefits conferred by Plaintiff and members

 of the Class with full knowledge and awareness of those benefits.

        107.    CIEE's retention of the benefits conferred upon it by Plaintiff and members

 of the Class under these circumstances was unjust and inequitable.



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        108.    Because CIEE's retention of the benefits conferred by Plaintiff and members

 of the Class is unjust and inequitable, Plaintiff and members of the Class are entitled to,

 and seek, disgorgement and restitution of the benefits unjustly retained by CIEE, in whole

 or in part, including refunds for tuition, fees, and room and board.

                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiff and Class Members request that the Court enter an order or

 judgment against Defendant including:

        A.      Certification of the action as a class action under Rules 23(b](2] and

 23(b)(3] of the Maine Rules of Civil Procedure, and appointment of Plaintiff as Class

 Representatives and her counsel of record as Class Counsel;

        B.      Damages for breach of contract, including in the amount of unrefunded

 tuition, fees, and charges for room and board;

        C.     A monetary award to remedy Defendants' unjust enrichment, including the

 amount of inequitably retained tuition, fees, and charges for room and board;

        D.     Other damages and all such other relief as provided under law;

        E.      Pre-judgment and post-judgment interest on such monetary relief;

        F.     Appropriate injunctive relief as permitted by law or equity including an

 order enjoining Defendant from refusing to give refunds for tuition, fees, and charges for

 room and board;

        G.     The costs of bringing this suit, including reasonable attorne/s fees; and

        H.     All other relief to which Plaintiff and members of the Class may be entitled

 by law or in equity.




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                                       JURY DEMAND

       Plaintiff demands trial by jury on all issues so triable.


       Dated at Portland, Maine this 11th day of June, 2020.



                                                   ^gmund D. Schutz, Bar No. 8549
                                                    Gregory P. Hansel, Bar No. 8465
                                                    Randall B. Weill, Bar No. 2836
                                                    Alexandra A. Harriman, Bar No. 6172
                                                    PRETI FLAHERTY BELIVEAU & PACHIOS
                                                    LLP
                                                    P.O. Box 9546, One City Center
                                                    Portland, ME 04112
                                                    Telephone: 207-791-3000
                                                    sschutz@preti.com
                                                    ghansel@preti.com
                                                    rweill@preti.com

                                                   Behram V. Parekh
                                                   Pro Hoc Vice to be pled
                                                   KIRTLAND & PACKARD LLP
                                                   1638 South Pacific Coast Highway
                                                   Redondo Beach, CA 90277
                                                   Telephone: 310-536-1000
                                                   bvp@kirtlandpackard.com

                                                   Counselfor PlaintiffAnnie Zhao and the
                                                   Proposed Class




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